Case 2:O4-cr-20511-.]DB Document 18 Filed 05/31/05 Page 1 of 2 Page|D 36

lN THE uNlTED sTATEs oisTRlcT couRT i‘"*"~i ‘:`"--

  

 

.\u..D.C.
FoR THE wEsTERN olsTRlcT oF TENNEssEE l
WEsTERN olvlsloN 95 ill-ti 3l Ptl 3= lit
l ;i"u§{u
CLY_§;?¢ S.. filST. CT.
uNlTEo sTATEs oF AMERch W 9 Ff-=' ~'»f~?l~=rHrS

Plaintiff

VS.
CR. NO. O4-20511-D

YVONNE N. WlLSON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on fora report date on l\/lay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav. ngv 21. 2005, at 9:00 a.m., in Courtroom 3, 9th F|oor ofthe
Federa| Bui|ding, l\/|emphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

n is so oRDEREo this 3/ day of May, 2005.

    

B' RN|CE B. ONALD
N|TED STATES DISTR|CT JUDGE

Thls docL ment entered on the docket sheet in com& ca
with l-`mle 55 andlor 32lbl FRCrP on__LQ_i£____

/€s

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CR-20511 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

Knut S. Johnson

LAW OFFICE OF KNUT S JOHNSON
1010 Second Ave

Ste 1850

San Diego7 CA 92101

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

